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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


DIANE CONMY and MICHAEL B. REITH,

                Plaintiffs,

v.                                                                   Case No. 4:04-CV-105

AMTRAK, CITY OF KALAMAZOO, JOHN                                      HON. GORDON J. QUIST
DOE and LAMPOON, INC.,

            Defendants.
______________________________________/


                       ORDER APPROVING PARTIAL SETTLEMENT

        This Court has been asked by Plaintiffs, the Personal Representatives of Erica Reith,

deceased, to approve the settlement of certain claims that the Personal Representatives have against

the City of Kalamazoo and Lampoon, Inc., for the wrongful death of Erica Reith on July 14, 2003.

Defendants the City of Kalamazoo and Lampoon, Inc. have agreed to pay $490,000 and $10,000,

respectively, to Plaintiffs. The Court has heard testimony from Personal Representative Diane

Conmy, Erica Reith’s mother. The Court has also examined the medical records submitted by

Plaintiffs.

        Erica Reith was a 19-year old girl who died because of injuries she received when her vehicle

was struck by a train in the City of Kalamazoo. She had just left the establishment of Lampoon, Inc.,

a defendant in the case. The City is accused of not maintaining a crossing light which, Plaintiffs

claim, was not functioning at the time of the accident. Amtrak is also a defendant, but Amtrak has

not settled with Plaintiffs.
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       The Court makes the following findings:

       1.      The settlement with the City of Kalamazoo and Lampoon, Inc. is fair and reasonable
               and is in the best interest of Erica Reith’s estate.    .

       2.      Erica Reith suffered conscious pain and suffering before she died from the injuries
               sustained in the accident. This finding is based upon the testimony of Diane Conmy
               and the medical records of Drs. Daniel Palermo, M.D., Barbara Koenig, M.D., and
               Alain Y. Fabi, M.D. Specifically, Ms. Conmy testified that the decedent appeared
               to be somewhat conscious when she saw her, and Dr. Fabi observed reactions that are
               consistent with deep pain. The doctors also observed reactions to sustained deep nail
               bed pressure, reactions to being turned, slight corneal reflexes, slight coughs, and
               movement of right lower extremity “only with deep pain, and gag reflex.” Erica
               Reith was given morphine to reduce her pain.

       Therefore, this Court approves the settlement between Plaintiffs, the City of Kalamazoo, and

Lampoon, Inc. pursuant to M.C.L. § 600.2922.

       This Order and the findings of fact in paragraph number 2 are binding upon, and for the

benefit of, the Settling Defendants only. They are not binding upon Amtrak, and are not to be used

in any way in any trial between Plaintiffs and Amtrak.

                                      Order of Distribution

       The settlement amount is $500,000, of which the City of Kalamazoo will pay $490,000 and

Lampoon, Inc. will pay $10,000, respectively. Of the $500,000, $50,000 will be set aside to the

estate for future litigation and will not be included for purposes of calculating attorney’s fees. Of

the remaining $450,000, $150,000 will be for the attorney’s fee. The remaining $300,000 will be

distributed as follows:

               Betty Reith:           0
               Jonathan Reith:        one-third of net proceeds
               Diane Conmy:           one-third of net proceeds
               Michael Reith:         one-third of net proceeds


Dated: May 16, 2005                                         /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE

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